Case 7:23-cv-03586-CS   Document 49-36   Filed 06/22/23   Page 1 of 10




            EXHIBIT 36
     Case 7:23-cv-03586-CS   Document 49-36    Filed 06/22/23   Page 2 of 10




                                VA 1-432-325




lalu039




lalu043




lalu047




                                      1
     Case 7:23-cv-03586-CS   Document 49-36   Filed 06/22/23   Page 3 of 10




lalu048




lalu051




lalu072




lalu073


                                      2
     Case 7:23-cv-03586-CS   Document 49-36   Filed 06/22/23   Page 4 of 10




lalu074




lalu076




lalu077




                                      3
     Case 7:23-cv-03586-CS   Document 49-36   Filed 06/22/23   Page 5 of 10




lalu079




lalu080




lalu083




                                      4
     Case 7:23-cv-03586-CS   Document 49-36   Filed 06/22/23   Page 6 of 10




lalu085




lalu086




lalu090




                                      5
     Case 7:23-cv-03586-CS   Document 49-36   Filed 06/22/23   Page 7 of 10




lalu139




lalu141




lalu142




                                      6
     Case 7:23-cv-03586-CS   Document 49-36   Filed 06/22/23   Page 8 of 10




lalu143




lalu144




lalu145




                                      7
     Case 7:23-cv-03586-CS   Document 49-36   Filed 06/22/23   Page 9 of 10




lalu146




lalu147




lalu150




                                      8
    Case 7:23-cv-03586-CS   Document 49-36   Filed 06/22/23   Page 10 of 10




lalu151




lalu158




                                     9
